                                  CASE 0:14-cr-00345-PJS-JSM Doc. 19 Filed 10/27/14 Page 1 of 1

                                        IN THE UNITED STATES DISTRICT COURT
                                                      FOR THE DISTRICT OF MINNESOTA

                                                      ARRAIGNMENT MINUTES
UNITED STATES OF AMERICA,                                                      COURT MINUTES - CRIMINAL
                                                                                 BEFORE: Jeffrey J. Keyes, 6A STP
                                         Plaintiff,                                   U.S. Magistrate Judge
   v.
                                                                         Case No: 14cr345(2) (PJS/JSM)
NORINH INTHONEPRADITH,                                                   Date:           October 27, 2014
                                                                         Court Reporter: N/A
                                         Defendant.                      Courthouse:     St. Paul
                                                                         Courtroom:      6A
                                                                         Time Commenced: 1:48 pm
                                                                         Time Concluded: 1:49 pm
                                                                         Time in Court:     1 Minute
APPEARANCES:
   Plaintiff: John Kokkinen, Assistant U.S. Attorney
   Defendant: David Schultz  FPD x CJA  Retained x Appointed

   Interpreter / Language:                   None/English

          X Reading of Indictment Waived                    X Not Guilty Plea Entered

Government Disclosure Due Date:
Defendant’s Reciprocal Disclosure Due Date:
Motion Filing Date:
Motion Response/Notice Deadlines Date:
Responsive Notice Deadline:
Motion Hearing Date:                                                . before Magistrate Judge in
Voir Dire/Jury Instruction Due Date:
Status Conference Date:                                             NA
Trial Date:

Other Remarks: x                       Disclosure dates, etc., to be addressed under separate Order.




                                                                                      s/Wendi Tilden
                                                                                    Courtroom Deputy




M:\templates\Arraignment Minutes wpt                                                                            Template Updated 06/2013
